                 Case 2:08-cr-00197-KJM Document 65 Filed 03/21/11 Page 1 of 2


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 4   Attorney for Defendant
     JIMMIE PERRYMAN
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   MICHAEL CRAIG DENNIS, et al.,                      TRIAL ACT
14                                 Defendants.
15
16           IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd D. Leras, Assistant United States Attorney, attorney for plaintiff; and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of March 18, 2011, be vacated and the matter set for status conference
20   on May 6, 2011.
21           This continuance is requested to allow counsel additional time to review outstanding
22   discovery that has yet to be received.
23          Accordingly, counsel and the defendants agree that time under the Speedy Trial Act
24   from the date this stipulation is lodged, through May 6, 2011, should be excluded in computing
25   time within which trial must commence under the Speedy Trial Act, pursuant to Title 18
26   / / / / /
27   / / / / /
28   / / / / /


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     Stipulation and [Proposed] Order to Continue Status Conference
                                  Case 2:08-cr-00197-KJM Document 65 Filed 03/21/11 Page 2 of 2


 1   U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense counsel
 2   to prepare].
 3   Dated: March 17, 2011                                          Respectfully submitted,
 4
                                                                    /s/ Michael E. Hansen
 5                                                                  MICHAEL E. HANSEN
                                                                    Attorney for Defendant
 6                                                                  JIMMIE PERRYMAN
 7   Dated: March 17, 2011                                          U.S. ATTORNEY’S OFFICE
 8
                                                                    By: /s/ Michael E. Hansen for
 9                                                                  TODD LERAS
                                                                    Assistant U.S. Attorney
10                                                                  Attorney for Plaintiff
11
12
                                                            ORDER
13
            IT IS HEREBY ORDERED that the previously-scheduled status conference date of
14
     March 18, 2011, be vacated and the matter set for status conference on May 6, 2011. Time is
15
     excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and
16
     Local Code T4.
17
            Date: 3/21/2011
18
19
                                                                    _________________________
20                                                                  GARLAND E. BURRELL, JR.
                                                                    United States District Judge
21
22
            DEAC_Signature-END:




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     Stipulation and [Proposed] Order to Continue Status Conference
